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Form 270

                                  UNITED STATES BANKRUPTCY COURT
                                               Middle District of North Carolina
                                                  101 S. Edgeworth Street
                                                   Greensboro, NC 27401

                                                                                          Bankruptcy Case No.: 22−10293
IN THE MATTER OF:
Mya Deionshai Corbett    xxx−xx−3117
1183 University Dr
#105227
Burlington, NC 27215

   Debtor(s)



                                                 NOTICE OF FILINGS DUE



It appearing that a petition commencing a case under Title 11, United States Code was filed by or against the person named above
on 6/8/22 , and Pursuant to Bankruptcy Rule 1007 and/or Bankruptcy Rule 3015, the following document(s) named below must be filed
within fourteen (14) days from the date the petition was filed.

Missing Documents(s):
___________________________
Notice of Crd & Pro Pln due 06/22/2022
Schedule A/B due 06/22/2022
Schedule G due 06/22/2022
Schedule H due 06/22/2022
Ch13 Income Form 122C−1 due 06/22/2022
Schedule I due 06/22/2022
Verification of Matrix due 06/22/2022
Schedule J due 06/22/2022
Stmt. of Fin. Affairs due 06/22/2022
Summary − Form B 106 due 06/22/2022
Exempt Property Claim due 06/22/2022
Dec. Con. Debtor's Schedules due 06/22/2022




Date: 6/9/22                                                                              OFFICE OF THE CLERK/ TR
